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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )                   8:03CR482-2
                      Plaintiff,                 )
                                                 )
       vs.                                       )
                                                 )                      ORDER
DAYNA DEAL,                                      )
                                                 )
                      Defendant.                 )

       Before the court is Filing no. 95, the government’s motion for reduction of sentence

pursuant to Fed. R. Crim. P. 35(b). Upon review,

       IT IS ORDERED:

       (1) That counsel for the government shall promptly notify the court when the motion for

reduction in sentence pursuant to Fed R. Crim. P. 35(b) is ripe for decision. The motion shall not

be decided until counsel for the government certifies that the motion is ripe;

       (2) That counsel for the defendant, if previously appointed pursuant to the Criminal Justice

Act (CJA), is reappointed to represent the defendant for purposes of the Rule 35(b) motion. If

retained, counsel for the defendant remains as counsel for the defendant until the Rule 35(b)

motion is resolved or until given leave to withdraw;

       (3) That the Federal Public Defender shall provide CJA counsel with a new voucher; and

       (4) That the Clerk of the Court shall provide a copy of this order to counsel for the

government and counsel for the defendant. The court will provide a copy to the Federal Public

Defender.

       DATED this 19th day of April, 2005.

                                              BY THE COURT:



                                              s/Thomas M. Shanahan
                                              THOMAS M. SHANAHAN
                                              United States District Judge
